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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No.: 16-20897-CR-SEITZ


  UNITED STATES OF AMERICA

               v.

  PRINCESS CRUISE LINES, LTD.,

         Defendant.
                                           /


              ORDER AMENDING PRIOR COURT ORDERS [DE 174 & DE 143]

         THIS MATTER came before the Court for the July 29, 2020 status conference. Based on

  the discussion during that conference and subsequent discussions among the parties, the Court

  Appointed Monitor (“CAM”) and the Third Party Auditor, it is therefore

         ORDERED that:

         1.      The Court’s prior Order Setting Status Conferences dated January 9, 2020 [DE

  174], is hereby amended to delete the requirement in Paragraph 1 that the Court Appointed

  Monitor (“CAM”) submit a quarterly report by September 18, 2020. The CAM shall instead

  next submit a report by December 18, 2020. In lieu of the September 2020 CAM quarterly

  report, the CAM and Carnival Corporation & plc (the “Company”) shall engage in

  communications sufficient to allow the CAM to inform the Court of the Company’s compliance

  with the Terms and Conditions of Probation.

         2.      The special conditions of Princess’s probation are hereby modified to remove the

  obligations in the first two sentences of Section II of the Proposed Agreement for the Court’s

  Consideration submitted by Princess and the United States on June 3, 2019 [DE 134] requiring

  the CAM and the Third Party Auditor to perform a combined additional 15 annual visits and/or
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  audits of ships and shore-side facilities operated by Carnival Corporation & plc. This amends

  the Court’s Order Accepting Proposed Settlement dated June 6, 2019 [DE 143]. The Court may

  order that the additional audits and/or visits be performed in the future.

         DONE AND ORDERED in Miami, Florida, this 10th day of August, 2020.



                                                ___________________________________
                                                PATRICIA A. SEITZ
                                                UNITED STATES DISTRICT JUDGE



  cc:    All Counsel of Record




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